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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK



Samuel Lopez,
      Plaintiff,
vs.
                                                                   COMPLAINT
139 Essex Street LLC and
Patacon Pisao LEs. Corp.,
       Defendants.



       Plaintiff, SAMUEL LOPEZ (“Plaintiff”), by his undersigned counsel, hereby files this

Complaint and sues Defendants, 139 ESSEX STREET LLC and PATACON PISAO LES.

CORP. (“Defendants”), for injunctive relief pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181, et seq., (hereinafter the “A.D.A”) and the ADA’s Accessibility Guidelines, 28

C.F.R. Part 36 (hereinafter the “ADAAG”).

                                        JURISDICTION

       1)       This Court has original jurisdiction over the action pursuant to 28 U.S.C.,

§§1331 and 1343 for Plaintiff’s claims arising under 42 U.S.C. § 12181. et seq., based upon

Defendant’s violations of Title III of the ADA (see also, 28 U.S.C. §§ 2201 and 2202).

       2)       Plaintiff currently resides in Brooklyn, New York, and is sui juris. Plaintiff is a

qualified individual with disabilities under the ADA law. Plaintiff is a paraplegic and is bound

to ambulate in a wheelchair.

       3)       Defendant, 139 ESSEX STREET LLC, is a Foreign Limited Liability Company

and transacts business in the State of New York and within this judicial district. Defendant, 139

ESSEX STREET LLC, is the owner of the real property which is the subject of this action


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located on or about at 139 Essex Street, New York, New York 10002 (hereinafter “Subject

Property” or “Facility”).

       4)       Defendant, PATACON PISAO LES. CORP., is a Domestic Business Corporation

and transacts business in the State of New York and within this judicial district. Defendant,

PATACON PISAO LES. CORP., is the lessee and operator of the business known as PATACON

PISAO, located at 139 Essex Street, New York, New York 10002 (hereinafter the “Subject

Property” or “Facility”).

       5)       Plaintiff has visited the Subject Property which forms the basis of this lawsuit on

or about the middle of November 2023, and again on or about February 26, 2024. On both of

these occasions, the Plaintiff’s ability to ambulate through the entrance of the Subject Property

was constrained, hindered, and thwarted by the structural barriers, that which prevented access

to the public accommodation. The Plaintiff plans to return to the Subject Property to avail

himself of the goods and services offered to the public at the Subject Property, and thereby

determine whether the Subject Property has been made ADA compliant. Plaintiff’s access to the

Facility and/or full and equal enjoyment of the goods, services, facilities, privileges, advantages,

and/or accommodations offered therein was denied and/or limited because of these disabilities,

and Plaintiff will be denied and/or limited in the future unless and until Defendants are

compelled to remove the physical barriers to access and ADA violations which exist at the

Facility, including but not limited, to those set forth in this Complaint

       6)       Plaintiff lives only several miles from the Defendants’ Facility, passes by the

Defendants’ Facility at least once per week when he is doing errands, visiting family and friends

throughout the borough, and looking to eat out. Moreover, the Defendants’ Facility is in a

neighborhood that Plaintiff dines out two to three times per month. Foremost, Plaintiff has dined

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at, and in, nearly all of the neighboring restaurants surrounding the subject facility, that are all

without obstructions. Moreover, Plaintiff dines at restaurants on this street about once or twice

per month, including but not limited to Boulton and Watt, Essex Restaurant, Fresh Slice Pizza,

Beauty & Essex, and Wolfnights amongst many others; and thereon affirms that he would dine

at the Defendant’s restaurant and avail himself of the goods and services offered to the public,

were it not for the structural barriers inhibiting his ability to enter the subject facility, in direct

contravention of Title III of the ADA and provisions under the ADAAG.

        7)       The Defendants’ Facility is a public accommodation and service establishment,

and although required by law to do so, it is not in compliance with the ADA and ADAAG.

Plaintiff has visited the Subject Property which forms the basis of this lawsuit and plans to

return to the Subject Property to avail himself of the goods and services offered to the public at

the Subject Property, and to determine whether the Subject Property has been made ADA

compliant. Plaintiff’s access to the Facility and/or full and equal enjoyment of the goods,

services, facilities, privileges, advantages, and/or accommodations offered therein was denied

and/or limited because of these disabilities, and Plaintiff will be denied and/or limited in the

future unless and until Defendants are compelled to remove the physical barriers to access and

ADA violations which exist at the Facility, including but not limited, to those set forth in this

Complaint.

        8)       Plaintiff has suffered and continues to suffer direct and indirect injury as a result

of the ADA violations that exist at the Facility. In this instance, Plaintiff visited the Facility and

encountered barriers to access at the Facility, engaged barriers, suffered legal harm and injury,

and will continue to suffer legal harm and injury as a result of the illegal barriers to access as set

forth herein.

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       9)       Plaintiff visited the Facility and encountered barriers to access at the Facility no

less than two times, specifically on or about the middle of November 2023, and again on or

about February 26, 2024, engaged the barriers, suffered legal harm and injury, and will continue

to suffer legal harm and injury as a result of the illegal barriers to access as set forth herein. The

Plaintiff will continue to dine out in the neighborhood of the Defendants’ subject property;

specifically plans to visit this subject property this summer with family and friends for a

birthday celebration; and will thereon continue to attempt to access the services and facilities at

said premises which have been deprived at all times material.

       10)      All events giving rise to this lawsuit occurred in the State of New York. Venue is

proper in this Court as the premises are located in the Southern District.

                          FACTUAL ALLEGATIONS AND CLAIM

       11)      Plaintiff has attempted to access the Facility, but could not do so without severe

hardship, because of his disabilities, and the physical barriers to access and ADA violations that

exist at the Facility, which restrict and/or limit his access to the goods and services offered at the

Facility. The ADA violations are more specifically set forth in this Complaint.

       12)      Plaintiff travels through this neighborhood regularly, has partaken of the services

offered in nearly all the surrounding public accommodations, and thereon intends to visit the

Facility again in the near future in order to utilize all of the goods and services offered therein

but will be unable to do so because of the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility that restrict and/or limit his access to the Facility,

including those barriers conditions and ADA violations more specifically set forth in this

Complaint.



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           13)      Defendants have discriminated against Plaintiff and others with disabilities by

denying access to, and full and equal enjoyment of the goods and services of the Facility, as

prohibited by 42 U.S.C., § 12182, et.seq., and by failing to remove architectural barriers as

required by 42 U.S.C., § 12182(b)(2)(A)(iv), and will continue to discriminate against Plaintiff

and others with disabilities unless and until Defendants are compelled to remove all physical

barriers that exist at the Facility, including those specifically set forth herein, and make the

Facility accessible to and usable by persons with disabilities, including Plaintiff.

           14)      Defendants have discriminated against Plaintiff by failing to comply with the

above requirements. A specific, although not exclusive, list of unlawful physical barriers,

dangerous conditions and ADA violations, which preclude and/or limit Plaintiff’s ability to

access the Facility and full and equal enjoyment of the goods, services offered at the Facility

include:

      I.         Inaccessible entrance.
     II.         Accessible route to establishment not provided as required. Accessible means of
                 egress not provided as required. Existing step at entrance acts as a barrier to
                 accessibility. Required ramp not provided for step at entrance.
                    ADAAG 206 Accessible Routes.
                    ADAAG 206.1 General.
                    Accessible routes shall be provided in accordance with 206 and shall comply with
                    Chapter 4.
                    ADAAG 206.2 Where Required.
                    Accessible routes shall be provided where required by 206.2.
                    ADAAG 206.2.1 Site Arrival Points.
                    At least one accessible route shall be provided within the site from accessible
                    parking spaces and accessible passenger loading zones; public streets and
                    sidewalks; and public transportation stops to the accessible building or facility
                    entrance they serve.
                    ADAAG 206.4 Entrances.
                    Entrances shall be provided in accordance with 206.4. Entrance doors, doorways,
                    and gates shall comply with 404 and shall be on an accessible route complying
                    with 402.
                    ADAAG 207 Accessible Means of Egress.
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           ADAAG 207.1 General.
           Means of egress shall comply with section 1003.2.13 of the International Building
           Code (2000 edition and 2001 Supplement) or section 1007 of the International
           Building Code (2003 edition) (incorporated by reference, “Referenced Standards”
           in Chapter 1).
           ADAAG 402 Accessible Routes.
           ADAAG 402.1 General.
           Accessible routes shall comply with 402.
           ADAAG 402.2 Components.
           Accessible routes shall consist of one or more of the following components:
           walking surfaces with a running slope not steeper than 1:20, doorways, ramps,
           curb ramps excluding the flared sides, elevators, and platform lifts. All
           components of an accessible route shall comply with the applicable requirements
           of Chapter 4.
           ADAAG 403 Walking Surfaces.
           ADAAG 403.4 Changes in Level.
           Changes in level shall comply with 303
           ADAAG 303.4 Ramps.
           Changes in level greater than ½ inch high shall be ramped, and shall comply with
           405 or 406.
III.    Required minimum maneuvering clearance not provided at entrance door.
IV.     Non-compliant change in floor level within required maneuvering clearance at
        entrance door.
           ADAAG 206 Accessible Routes.
           ADAAG 206.1 General.
           Accessible routes shall be provided in accordance with 206 and shall comply with
           Chapter 4.
           ADAAG 206.2 Where Required.
           Accessible routes shall be provided where required by 206.2.
           ADAAG 206.2.1 Site Arrival Points.
           At least one accessible route shall be provided within the site from accessible
           parking spaces and accessible passenger loading zones; public streets and
           sidewalks; and public transportation stops to the accessible building or facility
           entrance they serve.
           ADAAG 206.4 Entrances.
           Entrances shall be provided in accordance with 206.4. Entrance doors, doorways,
           and gates shall comply with 404 and shall be on an accessible route complying
           with 402.
           ADAAG 206.4.1 Public Entrances.
           In addition to entrances required by 206.4.2 through 206.4.9, at least 60 percent of
           all public entrances shall comply with 404.
           ADAAG 207 Accessible Means of Egress.
           ADAAG 207.1 General.

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                Means of egress shall comply with section 1003.2.13 of the International Building
                Code (2000 edition and 2001 Supplement) or section 1007 of the International
                Building Code (2003 edition) (incorporated by reference, “Referenced Standards”
                in Chapter 1)
                ADAAG 404.2.4 Maneuvering Clearances.
                Minimum maneuvering clearances at doors and gates shall comply with 404.2.4.
                Maneuvering clearances shall extend the full width of the doorway and the
                required latch side or hinge side clearance.
                ADAAG 404.2.4.4 Floor or Ground Surface.
                Floor or ground surface within required maneuvering clearances shall comply
                with 302. Changes in level are not permitted.

                                            Table 404.2.4.1
               Maneuvering Clearances at Manual Swinging Doors and Gates
                   Type of Use                              Minimum Maneuvering Clearance
Approach Direction         Door or Gate Side           Perpendicular to         Parallel to Doorway
                                                       Doorway
                                                                                (beyond latch side
                                                                                unless noted)
From front                     Pull                      60 inches (1525 mm)    18 inches (455 mm)
From front                     Push                      48 inches (1220 mm)    0 inches (0 mm)1
From hinge side                Pull                      60 inches (1525 mm)    36 inches (915 mm)
From hinge side                Pull                      54 inches (1370 mm)    42 inches (1065 mm)
From hinge side                Push                      42 inches (1065 mm)2   22 inches (560 mm)3
From latch side                Pull                      48 inches (1220 mm)4   24 inches (610 mm)
From latch side                Push                      42 inches (1065 mm)4   24 inches (610 mm)
1.      Add 12 inches (305 mm) if closer and latch are provided.
2.      Add 6 inches (150 mm) if closer and latch are provided.
3.      Beyond hinge side.
4.      Add 6 inches (150 mm) if closer is provided.


      V.    Inaccessible exterior dining table.
    VI.     Non-compliant height of exterior dining table exceeds maximum height allowance.
   VII.     Required minimum knee and toe clearance not provided at exterior dining table.
                ADAAG 226 Dining Surfaces and Work Surfaces.
                ADAAG 226.1 General.
                Where dining surfaces are provided for the consumption of food or drink, at least
                5 percent of the seating spaces and standing spaces at the dining surfaces shall
                comply with 902.
                ADAAG 902.2 Clear Floor or Ground Space.
                A clear floor space complying with 305 positioned for a forward approach shall
                be provided. Knee and toe clearance complying with 306 shall be provided.
                ADAAG 902.3 Height.
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    The tops of dining surfaces and work surfaces shall be 28 inches (710 mm)
    minimum and 34 inches (865 mm) maximum above the finish floor or ground.
    ADAAG 306.2 Toe Clearance.
    ADAAG 306.2.3 Minimum Required Depth.
    Where toe clearance is required at an element as part of a clear floor space, the toe
    clearance shall extend 17 inches (430 mm) minimum under the element.
    ADAAG 306.2.5 Width.
    Toe clearance shall be 30 inches (760 mm) wide minimum.
    ADAAG 306.3 Knee Clearance.
    ADAAG 306.3.3 Minimum Required Depth.
    Where knee clearance is required under an element as part of a clear floor space,
    the knee clearance shall be 11 inches deep minimum at 9 inches above the ground,
    and 8 inches deep minimum at 27 inches (685 mm) above the finish floor or
    ground.
    ADAAG 306.3.5 Width.
    Knee clearance shall be 30 inches (760 mm) wide minimum.
    INACCESSIBLE INTERIOR DINING TABLES.
    NON-COMPLIANT HEIGHT OF INTERIOR DINING TABLES EXCEEDS
    MAXIMUM HEIGHT ALLOWANCE.
    REQUIRED MINIMUM KNEE AND TOE CLEARANCE NOT PROVIDED AT
    INTERIOR DINING TABLES.
    MINIMUM PERCENTAGE OF EXISTING INTERIOR DINING TABLES
    REQUIRED TO BE ACCESSIBLE NOT PROVIDED.
    ADAAG 226 Dining Surfaces and Work Surfaces.
    ADAAG 226.1 General.
    Where dining surfaces are provided for the consumption of food or drink, at least
    5 percent of the seating spaces and standing spaces at the dining surfaces shall
    comply with 902.
    ADAAG 902.2 Clear Floor or Ground Space.
    A clear floor space complying with 305 positioned for a forward approach shall
    be provided. Knee and toe clearance complying with 306 shall be provided.
    ADAAG 902.3 Height.
    The tops of dining surfaces and work surfaces shall be 28 inches (710 mm)
    minimum and 34 inches (865 mm) maximum above the finish floor or ground.
    ADAAG 306.2 Toe Clearance.
    ADAAG 306.2.3 Minimum Required Depth.
    Where toe clearance is required at an element as part of a clear floor space, the toe
    clearance shall extend 17 inches (430 mm) minimum under the element.
    ADAAG 306.2.5 Width.
    Toe clearance shall be 30 inches (760 mm) wide minimum.
    ADAAG 306.3 Knee Clearance.
    ADAAG 306.3.3 Minimum Required Depth.
    Where knee clearance is required under an element as part of a clear floor space,
    the knee clearance shall be 11 inches deep minimum at 9 inches above the ground,


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                and 8 inches deep minimum at 27 inches (685 mm) above the finish floor or
                ground.
                ADAAG 306.3.5 Width.
                Knee clearance shall be 30 inches (760 mm) wide minimum.


        15)     The above listing is not to be considered all-inclusive of the barriers which exist

at the Facility. Plaintiff requires an inspection of the Facility in order to determine all of the

ADA violations.

        16)     The removal of the physical barriers, dangerous conditions, and ADA violations

set forth herein is readily achievable and can be accomplished and carried out without much

difficulty or expense. 42 U.S.C. § 12182(B)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R, §

36.304.

        17)     Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until

Defendants are required to remove the physical barriers, dangerous conditions, and ADA

violations that exist at the Facility, including those set forth herein.

        18)     The Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees, costs

and expenses paid by the Defendants, pursuant to 42 U.S.C., §§ 12205 and 12217.

        19)     Pursuant to 42 U.S.C. §12188(a), this Court is provided with authority to grant

injunctive relief to Plaintiff, including an order to alter the Facility to make it readily accessible

to and useable by individuals with disabilities to the extent required by the ADA, and closing

the Facility until the requisite modifications are completed.

        WHEREFORE, Plaintiff respectfully requests that the Court issue a permanent

injunction enjoining Defendants from continuing is discriminatory practices, ordering

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Defendants to remove the physical barriers to access and alter the Facility to make it readily

accessible to and useable by individuals with disabilities to the extent required by the ADA,

closing the Facility until the barriers are removed and requisite alterations are completed, and

awarding Plaintiff his reasonable attorney’s fees, expert fees, costs and litigation expenses

incurred in this action.

                                                Respectfully submitted

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